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                                          Path To Reform
                                          Report to Judge Morgan
                                          On NOPD Progress Under
                                          The Consent Decree
                                          January 2019
                                          Loyola University New Orleans School of Law




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                           • 486. To ensure that the requirements of this
                             Agreement are properly and timely
                             implemented, the Court shall retain jurisdiction
     Full &                  of this action for all purposes until such time as
  Effective                  the City has achieved full and effective
                             compliance with this Agreement and
Compliance                   maintained such compliance for no less than
                             two years. At all times, the City and NOPD shall
                             bear the burden of demonstrating full and
                             effective compliance with this Agreement. . . .




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                       NOPD implements reforms required by Consent
                       Decree


                             OCDM conducts section-by-section assessments
                             and identifies areas in Full & Effective
Path To Full                 Compliance
& Sustained
Compliance                         Once the Court finds all sections in Full &
                                   Effective Compliance, NOPD enters into a
                                   “Sustainment Period”

                                         NOPD must maintain Full and Effective
                                         compliance with ALL sections of the Consent
                                         Decree for two years



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Paragraph 456:
Comprehensive Assessment

• “Two years after the effective date, the Monitor shall conduct a comprehensive
  assessment to determine whether and to what extent the outcomes intended by
  this Agreement have been achieved, and any modifications to the Agreement that
  are necessary for continued achievement in light of changed circumstances or
  unanticipated impact (or lack of impact) of the requirement. This assessment also
  shall address areas of greatest achievement and the requirements that appear to
  have contributed to this success, as well as areas of greatest concern, including
  strategies for accelerating full and effective compliance. . . .”




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                                            Executive Summary
                                     • NOPD continues to make significant progress in every
                                       area of the Consent Decree
                                     • Multiple areas have achieved Full & Effective
                                       Compliance
                                     • NOPD leadership deserves significant credit for
                                       bringing the Department this far
                                          • Their continued commitment will be critical to
                                            getting the Department to the finish line
                                     • Some CD areas still require additional work
                                         • Some of these areas are significant
                                         • But progress continues to be made even in these
                                           areas




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                       •   Introduction
                       •   Consent Decree Overview
                       •   Abbreviated Compliance Timeline
                       •   Current Status Overview
                       •   Summary Of Sections In Or Nearing Full And
Agenda                     Effective Compliance
                       •   Summary Of Sections Requiring Additional
                           Attention
                       •   Factors Contributing To Success
                       •   Path Forward
                       •   Conclusion


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                                                                                       Policies &
                                                                                        Training
                                                                      Transparency                    Use of Force


                                                         Misconduct                                                       CIT




                                                OPSE                                                                                   SSA



NOPD
                                                                              Consent
Consent
                                                                                                                                          Custodial
                                         Supervision                                                                                   Interrogations



                                                                              Decree
Decree                                   Performance
                                             Evals                                                                                   Photo Lineups




                                                                                                                                Bias Free
                                                       OA&S                                                                     Policing



                                                                                                            Policing Free of
                                                                Academy                                      Gender Bias
                                                                                               Community
                                                                              Recruitment      Engagement




                                                                                                                                                        7
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       Abbreviated Compliance Timeline

                                                  9/2013
                         5/2013                 5th Circuit
 1/2013                   Court                   Affirms                   8/2014                      2016                       2018
  Court                  Denies                  Denial of                   Chief                     NOPD                      Ongoing
Approves                Motion To               Motion to                   Harrison                 Structural                 Significant
   CD                    Vacate                   Vacate                   Appointed                  Changes                    Progress




             5/2013                  8/2013                      2014                      2015                      2017
           City Moves                OCDM                       OCDM                      NOPD                     Ongoing
            To Vacate               Appointed                  Provides                Leadership                 Significant
                                                              Technical                     &                      Progress
                                                              Assistance                Structural
                                                                                         Changes




                                                                                                                                              8
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Path To Reform

           No                                                                                     Nearing Full                 Full &
                                    Inadequate                     Significant
       Meaningful                                                                                 & Effective                 Effective
                                      Progress                      Progress
        Progress                                                                                  Compliance                 Compliance
                                                                                                                           NOPD has (a)
                                                                                                                           incorporated the
                                                                                                                           requirement into policy;
                                                                                               NOPD either (a) is          (b) trained all relevant
                                                                                               nearing “Full & Effective   personnel to fulfill their
                                                                                               Compliance” or (b) may      responsibilities
                                                                                               have achieved such          pursuant to the
                                                             NOPD has taken and continues
                                                                                               compliance, but DOJ         requirement; (c)
                                                             to take necessary and
                                                             appropriate steps toward          and the OCDM have not       ensured that the
                                                             achieving full and effective      yet verified.               requirement is being
                              NOPD had made some, but        compliance, but has more                                      carried out in practice;
NOPD has made little if any   inadequate, progress in        work to do. A finding of
                              achieving the goals outlined
                                                                                                                           and (d) disciplined
progress in achieving the                                    “significant progress” is NOT a
goals outlined in the         in the Consent Decree.         negative finding.                                             noncompliance.
Consent Decree.


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Path To Reform -- 2011

                No                                                                               Nearing Full         Full &
                                              Inadequate                 Significant
            Meaningful                                                                           & Effective         Effective
                                                Progress                  Progress
             Progress                                                                            Compliance         Compliance
•   Misconduct Investigations
•   Use of Force
•   Secondary Employment
•   Custodial Interrogation
•   Photographic line-Ups
•   Officer Assistance & Support
•   Transparency & Oversight
•   Approved Policies
•   Policing Free of Gender Bias – Sexual
    Assault
•   Policing Free of Gender Bias – Domestic
    Violence
•   Academy
•   Crisis Intervention Team
•   Bias Free Policing
•   Stops, Searches, Arrests
•   Performance Evals & Promotions
•   Recruitment
•   Supervision
•   Community Engagement




                                                                                                                                 10
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Path To Reform -- 2019

      No                                                             Nearing Full                     Full &
               Inadequate                  Significant
  Meaningful                                                         & Effective                     Effective
                 Progress                   Progress
   Progress                                                          Compliance                     Compliance

                                                                                                •   Use of Force
                                                                                                •   Secondary Employment
                                                                                                •   Custodial Interrogation
                                                                                                •   Photographic line-Ups
                                                                                                •   Officer Assistance &
                                                                  • Academy                         Support
                                                                  • Misconduct Investigations   •   Transparency & Oversight
                                                                  • Bias Free Policing          •   Approved Policies
                                     • Supervision                                              •   Sexual Assault
                                     • Performance Evals &                                          Investigations
                                       Promotions                                               •   Domestic Violence
                                                                                                    Investigations
                                     • Recruitment
                                                                                                •   Crisis Intervention Team
                    N/A              • Community Engagement
    N/A                              • Stops, Searches, Arrests




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Section By Section Highlights
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Use Of Force

• “NOPD agrees to develop and implement force policies, training, and review
  mechanisms that ensure that force by NOPD officers is used in accordance with the
  rights secured or protected by the Constitution and laws of the United States, and
  that any unreasonable uses of force are identified and responded to appropriately.
  NOPD agrees to ensure that officers use non-force techniques to affect compliance
  with police orders whenever feasible; use force only when necessary, and in a
  manner that avoids unnecessary injury to officers and civilians; and de-escalate the
  use of force at the earliest possible moment. To achieve these outcomes, NOPD
  agrees to implement the requirements set out below.”




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                                NOPD Reform Highlights                       OCDM Findings
                                • New policies / training                    • Increase in appropriate usage of Body-
                                • Effective Use of Force Review Board          worn cameras during use of force
                                  (UFRB)                                       incidents
                                • Effective Force Investigation Team (FIT)   • All use of force incidents reviewed by FIT
                                                                             • Use of force violations handled
                                                                               appropriately



Use of Force                    Illustrative Data                            Ongoing NOPD Commitments
                                • No 2017/2018 canine bites or off-lead      • Continue robust UFRB
                                  deployments                                • Routine policy review/updates
                                • No unjustified 2017/2018 shootings of      • Continued coordination with Independent
                                  individuals                                  Police Monitor (IPM)
                                • UOF complaints significantly down




                                                                                                                  14
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       NOPD Officer-Involved Shootings

Year       Persons                     Animals                        Accidental    Total
2012          9                               9                                2     20
2013          9                               3                                1     13
2014          8                               2                                1     11
2015          8                               3                                1     12
2016          3                               2                                2     7
2017          3                               0                                2     5
2018          0                               1                                3     4

                                                                                          15
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Percentage of
NOPD’s Use of                        100%                100%               100%          100%
Force
administrative
investigations in
which each NOPD
finding is
supported by the                          2015                2016                 2017     2018
evidence


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                             • Board reviews all serious uses of force and other FIT
                               investigations
                             • Serves as quality control mechanism to determine the
                               appropriateness of the investigative findings and to evaluate
 Use of Force                  incident from a tactical, training, policy, and agency-
                               improvement perspective

Review Board                 • The UFRB process is in addition to any other review or
                               investigation
   Highlights                • The Monitoring Team has observed most UFRB proceedings and
                               has been impressed by the Board’s candor, thoroughness, and
                               effectiveness
                             • The Monitoring Team continues to audit to ensure NOPD follow-
                               through on UFRB recommendations




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                                   Year                Deployments                  Bites
                                   2012                          105                 6
                                   2013                          124                 7
Canine Bite                        2014                          111                 12
 Metrics                           2015                          129                 10
                                   2016                           77                 4
                                   2017                           60                 0
                                   2018                           56                 0

                                                                                            18
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                                                          NOPD Vehicle Pursuits
                     80

                                                     73
                     70

                                   64
                     60



 Vehicle             50


 Pursuit             40

Statistics           30                                                31                     32


                     20                                                               21

                     10


                      0
                                2014             2015               2016           2017    2018




                                                                                                   19
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                         Property Damage Resulting
                            from Vehicle Pursuits

                                                2014       2015       2016   2017   2018
                          Light                  11         5          1       2      0

                          Moderate                2          5         4      1      1

                          Heavy                  1           2         1      0      1

                          Total                  14          12        6      3      2




                                                                                      20
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Crisis Intervention Team (CIT)

• “NOPD agrees to minimize the necessity for the use of force against individuals in
  crisis due to mental illness or a diagnosed behavioral disorder. To achieve this
  outcome, NOPD agrees to implement the requirements set out below.”




                                                                                                21
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                                 NOPD Reform Highlights                     OCDM Findings
                                 • Implemented Memphis CIT model            • CIT training is effective
                                 • Established effective CIT Committee      • Officers are proud to wear CIT pin
                                 • Implemented effective training           • CIT officers are effective on scene

Crisis
Intervention
                                 Illustrative Data                          Ongoing NOPD Commitments
Team (CIT)                       • Patrol officers trained: 256
                                 • CIT certified officers: 37%
                                                                            • Continue conducting internal audits
                                                                            • Continue to update training with
                                 • Most recent OCDM audit: 100%               new best practices
                                                                            • Strive to exceed 40% CIT trained




                                                                                                             22
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Illustrative CIT Statistics




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Custodial Interrogations

• “NOPD agrees to ensure that officers conduct custodial interrogations in
  accordance with the subjects’ rights secured or protected by the Constitution and
  laws of the United States, including the rights to counsel and against self-
  incrimination. NOPD agrees to ensure that custodial interrogations are conducted
  professionally and effectively, so as to elicit accurate and reliable information. To
  achieve these outcomes, NOPD agrees to implement the requirements set out
  below.”




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                                  NOPD Reform Highlights                     OCDM Findings
                                  • Designated room with                     • Compliant policies
                                    functioning audio/video                  • Compliant training
                                  • Enhanced training                        • Compliant practices
                                  • Compliant facilities
Custodial
Interrogations                    Illustrative Data                          Ongoing NOPD
                                  • Complaints since 2015: 2                 Commitments
                                  • OCDM audit results: 100%                 • Maintain recording equipment
                                  • Interrogations recorded &                • Maintain log
                                    logged: ALL                              • Conduct internal inspections




                                                                                                      25
                       2014 NOPD Compliance Score for Custodial
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                              Interrogations Paragraphs
                                 Districts      163        164        165         166     167   168

                                 District 1       N         N          N              N   N     N
     Key:
C = Compliant                    District 2       N         N          N              N   N     N
                                 District 3       N         N          N              N   N     N
  P = Partial
                                 District 4       N         N          N              N   N     N
 Compliance
                                 District 5       P         P          N              N   N     N
  N = Not                        District 6       N         N          N              N   N     N
 Compliant                       District 7       N         N          N              N   N     N
                                 District 8       P         P           P             N   P     N
                                 Homicide         C         C           C             N   C     N
                                 SVS              N         N          N              N   N     N
                                 SOD              *         *           *             *    *    N
                                                                                                      26
                            2017/2018 NOPD Compliance Score for
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                             Custodial Interrogations Paragraphs
                                 Districts      163        164        165         166     167   168

                                 District 1       C         C           C             C   C     C
     Key:
C = Compliant                    District 2       C         C           C             C   C     C
                                 District 3       C         C           C             C   C     C
  P = Partial
                                 District 4       C         C           C             C   C     C
 Compliance
                                 District 5       C         C           C             C   C     C
  N = Not                        District 6       C         C           C             C   C     C
 Compliant                       District 7       C         C           C             C   C     C
                                 District 8       C         C           C             C   C     C
                                 Homicide         C         C           C             C   C     C
                                 SVS              C         C           C             C   C     C
                                 SOD              C         C           C             C   C     C
                                                                                                      27
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Photographic Line-Ups

• “NOPD agrees to ensure that photographic line-ups are conducted effectively and
  in accordance with the rights secured or protected by the Constitution and laws of
  the United States, so as to elicit accurate and reliable information. To achieve this
  outcome, NOPD agrees to implement the requirements set out below.”




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                                NOPD Reform Highlights                     OCDM Findings
                                • Double-blind lineups                     • Compliant policies
                                • New process for filler photos            • Compliant training
                                • Witness statements recorded              • Compliant practices



Photographic
Lineups                         Illustrative Data                          Ongoing NOPD Commitments
                                • Tracking logs: 100%                      • Explore new documentation
                                • Lineups recorded: 100%                     technologies
                                • Records maintained: 100%                 • Maintain all recording equipment
                                                                           • Conduct regular internal inspections




                                                                                                          29
                                  2014 NOPD Compliance Score for
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                                  Photographic Line-Ups Paragraphs
                                 Districts      171        172        173         174     175   176

                                 District 1       N         N          N              N   N     N
     Key:
C = Compliant                    District 2       N         P          N              N   N     N
                                 District 3       N         N          N              N   N     N
  P = Partial
                                 District 4       N         N          N              N   N     N
 Compliance
                                 District 5       N         N          N              N   N     N
  N = Not                        District 6       N         N          N              N   N     N
 Compliant                       District 7       N         N          N              N   N     N
                                 District 8       P         C           C             N   P     N
                                 Homicide         C         C           P             C   N     N
                                 SVS              N         C           C             P   P     C
                                 SOD              *         *           *             *    *     *
                                                                                                      30
                            2017/2018 NOPD Compliance Score for
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                              Photographic Line-Ups Paragraphs
                                   Districts      171       172         173           174   175   176

                                   District 1      C          C          C            C     C     C
     Key:
C = Compliant                      District 2      C          C          C            C     C     C
                                   District 3      C          C          C            C     C     C
  P = Partial
 Compliance                        District 4      C          C          C            C     C     C
                                   District 5      C          C          C            C     C     C
  N = Not                          District 6      C          C          C            C     C     C
 Compliant
                                   District 7      C          C          C            C     C     C
                                   District 8      C          C          C            C     C     C
                                   Homicide        C          C          C            C     C     C
                                   SVS             C          C          C            C     C     C
                                   SOD             C          C          C            C     C     C
                                                                                                      31
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Policing Free of Gender Bias

• “NOPD agrees to respond to and investigate reports of sexual assault and domestic
  violence professionally, effectively, and in a manner free of gender-based bias, in
  accordance with the rights secured or protected by the Constitution and laws of
  the United States. NOPD agrees to appropriately classify and investigate reports of
  sexual assault and domestic violence, collaborate closely with the DA and
  community partners, including the NOFJC, and apply a victim-centered approach at
  every stage of its response. To achieve these outcomes, NOPD agrees to implement
  the requirements set out below.”




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                                NOPD Reform Highlights                          OCDM Findings
                                • SVS housed in NOFJC                           • Policies implement best practices
                                • Sexual Assault Response Team (SART) –         • Training is effective
                                  successful multidisciplinary taskforce        • Remarkable post-2014 turnaround
                                • Dedicated NOPD leadership having a            • Case files in excellent order

Sexual Assault                    positive impact                               • Few complaints



Response and                    Illustrative Data                               Ongoing NOPD Commitments
Investigations                  • SVS Practices Audits: Near 100%
                                • Case File Audits: Near 100%
                                                                                • Regular internal audits
                                                                                • Continued engagement with stakeholders
                                • NOFJC Case worker Feedback: Extremely         • Maintain sufficient number of
                                  Positive                                        investigators
                                • Increased reporting indicates public trust,
                                  proper reporting, and more accurate
                                  clearances by officers




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 Sexual
 Assault
Reporting




                                                                                  34
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                                 NOPD Reform Highlights                        OCDM Findings
                                 • Effective supervision                       • Policies incorporate national best
                                 • Qualified / committed staff                   practices


Domestic
                                 • DV detectives co-located with NOFJC         • Patrol response dramatically improved
                                 • Work closely with D.A. office prosecutor    • Training is effective
                                                                               • Signal change and response times audits


Violence
                                                                                 positive
                                                                               • Dual arrest figures substantially lower



Response and                     Illustrative Data                             Ongoing NOPD Commitments


Investigations
                                 • OCDM Detective Audits: 100%                 • Continue updating policies
                                 • OCDM Patrol Audits: 95%-100%                • Continue updating training
                                 • Reported DV calls up to expected levels –   • Conduct regular internal audits
                                   indicates trust, proper reporting, and
                                   clearances by officers




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Domestic
Violence
Reporting




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Domestic Violence Code 1 Response Times




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Officer Assistance and Support

• “NOPD agrees to provide officers and employees ready access to the mental health
  and support resources necessary to facilitate effective and constitutional policing.
  To achieve this outcome, NOPD agrees to implement the requirements below.”




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                                 NOPD Reform Highlights                     OCDM Findings
                                 • Established Officer Assistance           • User feedback highly positive
                                   Program (OAP)                            • Training effective
                                 • Office staffed with licensed             • Services need further expansion

Officer
                                   professionals
                                 • Regular Academy training


Assistance &
                                 Illustrative Data                          Ongoing NOPD Commitments
Support                          • Rewrote Standard Operating
                                   Procedures (SOP)
                                                                            • Maintain positive relations with
                                                                              officers and their families
                                 • OAP resources easily located on          • Identify additional resources needed
                                   NOPD website                             • Analyze data to determine
                                 • OAP practices based on national            sufficiency of personnel
                                   best practice standards




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Illustrative OAP Survey Results




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Secondary Employment System

• “The City shall completely restructure what is currently known as its Paid Detail
  system to ensure that officers’ and other NOPD employees’ off-duty secondary
  employment does not compromise or interfere with the integrity and effectiveness
  of NOPD employees’ primary work as sworn police officers serving the entire New
  Orleans community. To achieve this outcome, the City shall develop and implement
  an off-duty secondary employment system that comports with applicable law and
  current professional standards, and which shall include the requirements set out
  below.”




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                              NOPD Reform Highlights                               OCDM Findings
                              • New policies / training                            • 100% compliant in almost all Secondary
                              • Effective Office of Police Secondary                 Employment CD paragraphs
                                Employment (OPSE)                                  • Accurate & complete data
                              • Successful transition to new leader, Fabian        • Violations handled appropriately


Secondary
                                Barbarin                                           • Secondary employment system comports with
                                                                                     applicable law and current professional
                                                                                     standards


Employment                    Illustrative Data                                    Ongoing NOPD Commitments

System                        • Yearly increases in officer participation, hours
                                worked, customers served, and gross
                                revenues
                                                                                   • Continue robust OPSE
                                                                                   • Routine policy review/updates
                                                                                   • Maintain clear communication with NOPD
                              • OPSE now manages all secondary                       officers
                                employment by NOPD officers




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OPSE Has Expanded Opportunities For
Officers




                                                                                43
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Secondary Employment Violations



  2014         2015                     2016                     2017          2018

   11              1                        3                        1          0


                                                                                      44
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Misconduct Complaint Intake,
Investigation, and Adjudication

• “NOPD and the City agree to ensure that all allegations of officer misconduct are
  received and are fully and fairly investigated; that all investigative findings are
  supported using the preponderance of the evidence standard and documented in
  writing; and that all officers who commit misconduct are held accountable
  pursuant to a disciplinary system that is fair and consistent. To achieve these
  outcomes, NOPD and the City agree to implement the requirements set out
  below.”




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                                 NOPD Reform Highlights                           OCDM Findings

Misconduct                       • Misconduct routinely reported and discipline
                                   process is transparent
                                 • Administrative Investigation timeframes
                                                                                  • Auditable data are readily available
                                                                                  • Complaint intake, classification, assignment
                                                                                    and tracking complies with requirements

Complaint                          comport with requirements
                                 • Evidence is properly identified, collected,
                                   analyzed, and securely stored
                                                                                  • Reports of misconduct are handled
                                                                                    appropriately
                                                                                  • Misconduct investigations are thorough and

Intake,
                                 • Investigative reports and documentation is       objective
                                   securely stored



Investigation,                   Illustrative Data
                                 • Nearly 100% compliance demonstrated in
                                                                                  Ongoing NOPD Commitments
                                                                                  • Maintain thoroughness of investigations

and                                multiple recent OCDM random sample audits
                                 • Misconduct and UOF complaints are
                                   significantly down
                                                                                  • Training requirements identified and being
                                                                                    addressed but not yet completed
                                                                                  • Complaint information needs broad

Adjudication
                                 • Placards describing the external complaint       distribution and continuous availability
                                   process are posted in every police district    • Continue publishing detailed Annual Reports




                                                                                                                         46
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Total NOPD Complaints

 Complaint          2013                2014                 2015                2016          2017
 Type

 Public Initiated   669 (71%)           654 (75%)            549 (65%)           591 (69.5%)   470 (64%)



 Rank Initiated     279 (29%)           215 (25%)            301 (35%)           259 (30.5%)   264 (36%)



      TOTAL             948                   869                 850                 850         734


                                                                                                           47
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Academy and In-Service Training

• “NOPD is committed to ensuring that all officers and employees receive adequate
  training to understand the law and NOPD policy and how to police effectively.
  NOPD training shall reflect and instill agency expectations that officers police
  diligently, have an understanding of and commitment to the constitutional rights of
  the individuals they encounter, and employ strategies to build community
  partnerships to more effectively increase public trust and safety. To achieve these
  outcomes, NOPD agrees to implement the requirements set out below.”




                                                                                               48
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                                NOPD Reform Highlights                     OCDM Findings
                                • Updated all lesson plans                 • Engagement of Academy
                                • Re-sequenced curriculum                    Administrator (PhD)
                                • Created standards & policies             • Effective FTO program

Academy and                     • Improved instructor training             • Quality Master Training Plan



In-Service
                                Illustrative Data                          Ongoing NOPD Commitments
Training                        • 51% increase in training hours
                                • Nearly 100% of officers have
                                                                           • Continuous improvement of
                                                                             curriculum
                                  received required training               • Continuous improvement of
                                • 98.7% of courses have acceptable           professional development program
                                  content                                  • Implementation of new technology




                                                                                                            49
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    NOPD
Provides 104%
 more training
  hours than
required by LA
    POST




                                                                                       50
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                                                                        Calendar of Academy Re-Sequenced Curriculum
                        MONDAY                                                      TUESDAY                                                 WEDNESDAY                                                     THURSDAY                                                   FRIDAY
7:45AM - 8:00AM ROLL CALL                                    7:45AM - 8:00AM ROLL CALL                                 7:45AM - 8:00AM ROLL CALL                                    7:45AM - 8:00AM ROLL CALL                               7:45AM - 8:00AM ROLL CALL
8:00AM - 9:00AM                    Burglary Investigation    8:00AM - 9:00AM                 Crisis Intervention-      8:00AM - 9:00AM                 Crisis Intervention-         8:00AM -9:00AM                Verbal Communication- 8:00AM - 9:00AM                        Test      T-8
INV-29 POST #06-106-R            Instructor:                 Behavioral      SP-4 POST #09-106-R                       Techniques      SP-12 POST #09-106-R                         Tools         UF-30 #14-103-R             Instructor: INV-23:33; DV-2:5; LA-51:57; SP-4:17
                                                             Instructor:                                               Instructor:



9:00AM - 10:00AM                   Burglary Investigation    9:00AM - 10:00AM                Crisis Intervention-      9:00AM - 10:00AM                Crisis Intervention-         9:00AM - 10:00AM               Verbal Communication- 9:00AM - 10:00AM                         Test    T-8
INV-30 POST #06-106-R            Instructor:                 Behavioral      SP-5 POST #09-106-R                       Techniques       SP-13 POST #09-106-R                        Tools          UF-31 #14-103-R             Instructor: INV-23:33; DV-2:5; LA-55:61
                                                             Instructor:                                               Instructor:



10:00AM - 11:00AM             Burglary Report                10:00AM - 11:00AM                Crisis Intervention-      10:00AM - 11:00AM                Crisis Intervention-       10:00AM - 11:00AM               Verbal Communication- 10:00AM - 11:00AM                      Issuing Traffic
Exercise          RW-45 03-118-R                             Behavioral      SP-6 POST #09-106-R            Instructor: Techniques      SP-14 POST #09-106-R                        Tactical        UF-32 #14-103-R                       Citations                PA-50 POST #08-120-R
Instructor:                                                                                                             Instructor:                                                 Instructor:                                           Instructor:



11:00AM - 12:00PM                   Identity Theft           11:00AM - 12:00PM                Crisis Intervention-     11:00AM - 12:00PM                 Crisis Intervention-       11:00AM - 12:00PM                Verbal                 11:00AM - 12:00PM                   Issuing Traffic
Investigation          INV-31 POST #06-109-R                 Behavioral       SP-7 POST #09-106-R                      Procedures       SP-15 POST #09-106-R                        Communication-Tactical         UF-33 #14-103-R          Citations               PA-51 POST #08-120-R
Instructor:                                                  Instructor:                                               Instructor:                                                  Instructor:                                             Instructor:



12:00PM - 12:30PM LUNCH                                      12:00PM - 12:30PM LUNCH                                   12:00PM - 12:30PM LUNCH                                      12:00PM - 12:30PM LUNCH                                 12:00PM - 12:30PM LUNCH
12:30PM - 1:30PM                   Identity Theft            12:30PM - 1:30PM                Crisis Intervention-      12:30PM - 1:30PM                  Crisis Intervention-       12:30PM - 1:30PM                   Motor Vehicle Laws   12:30PM - 1:30PM                     Issuing Traffic Citations
Investigation          INV-32 POST #06-109-R                 Disorders        SP-8 POST #09-106-R                      Procedures       SP-16 POST #09-106-R                        TS-1 POST #07-104-R          Instructor:                PA-52 POST #08-120-R            Instructor:
Instructor:                                                  Instructor:                                               Instructor:



1:30PM - 2:30PM                  Identity Theft              1:30PM - 2:30PM                 Crisis Intervention-      1:30PM - 2:30PM                    Crisis Intervention-Legal 1:30PM - 2:30PM                   Motor Vehicle Laws    1:30PM - 2:30PM                  Elements-Weapons
Investigation       INV-33 POST #06-109-R                    Disorders         SP-9 POST #09-106-R                     SP-17 POST #09-106-R            Instructor:                  TS-2 POST #07-104-R          Instructor:                Violations          LA-58 POST #09-106-R
Instructor:                                                  Instructor:                                                                                                                                                                    Instructor:



2:30PM - 3:15PM                   Physical Fitness Training 2:30PM - 3:15PM                Crisis Intervention-        2:30PM - 3:15PM                   Physical Fitness Training 2:30PM - 3:15PM                   Motor Vehicle Laws     2:30PM - 3:15PM                    Physical Fitness Training
PT-56 POST #12-101-R            Instructor:                 Disorders       SP-10 POST #09-106-R                       PT-58 POST #12-101-R           Instructor:                  TS-3 POST #07-104-R           Instructor:                PT-60 POST #12-101-R            Instructor:
                                                            Instructor:



3:15PM - 3:45PM                  Physical Fitness Training   3:15PM - 3:45PM                 Crisis Intervention-      3:15PM - 3:45PM                  Physical Fitness Training   3:15PM - 3:45PM                  Motor Vehicle Laws     3:15PM - 3:45PM                  Physical Fitness Training
PT-57 POST #12-101-R            Instructor:                  Techniques      SP-11 POST #09-106-R                      PT-59 POST #12-101-R            Instructor:                  TS-4 POST #07-104-R          Instructor:                PT-61 POST #12-101-R            Instructor:
                                                             Instructor:



HOMEWORK: BURGLARY REPORT                                    3:45PM - 4:45PM STUDY HALL                                                                                             3:45PM - 4:45PM STUDY HALL
                                                                                                                                                                                                                                                                                         51
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                                   99.6%          99.6%         100.0%                           100.0%    99.9%       99.4%             100.0%        100.0%           100.0%                 100.0%
                     100.0%
                                                                                  92.9%                                                                                              93.2%

                      90.0%


                      80.0%


                      70.0%



  Nearly all          60.0%



officers have         50.0%


received the          40.0%

  requisite           30.0%

   training
                      20.0%


                      10.0%


                       0.0%
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                           • The Monitoring Team has observed most instructors and
                             most courses
                           • Content now meets Consent Decree and legal requirements
     OCDM                      • OCDM found 98% of the courses reviewed had
                                 acceptable content
  Academy                  • Courses and lesson plans are well developed

    Course                 • Instructors now teach courses competently
                           • Academy now has a more robust professional development
Evaluations                  program
                           • Still room for improvement in terms of
                                • Incorporating “core concepts” into every class
                                • Employing adult learning techniques in every class
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Areas of Significant Progress But Requiring
Additional Effort
• Supervision

• Stops, Searches, Arrests

• Recruitment

• Performance Evaluations

• Community Engagement
                                                                                      54
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Observations About The “Blue Box” Items
• “Significant progress” is not a negative finding, but it is in important
  finding
• Several of these items go to the very heart of the Consent Decree
• Achieving “Full and Effective
  Compliance” in these areas
  will take continued
  commitment on the part of
  the NOPD and the Monitoring
  Team


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Areas Needing Additional Effort

       Supervision                Stop, Searches, Arrests               Recruitment               Performance Evaluations         Community Engagement
                                                                                                        / Promotions
-Inconsistent review of force     -Inconsistent documentation    -Still not attracting adequate   -Supervisors not consistently    -Geographic Deployment
  statements by supervisors          of searches (boilerplate       quantity and quality of          preparing meaningful           Plan not implemented
-Supervisors not consistently      language and inaccuracies)                 recruits                    evaluations             -Community problem solving
working same shifts as those        -Inconsistent supervisor      -Quality of vetting process         -Commanders not                 approach not fully
      they supervise                    reviews of search                inconsistent               adequately supervising              implemented
 -Districts not consistently             documentation           -Insufficient communication          evaluation process           -Community Policing Form
 meeting patrol/supervisor          -Consent searches not         with recruitment partners        -Inconsistent attention to        and Scorecard not fully
             ratio                 consistently approved by          -Insufficient internal        correcting deficiencies in            implemented
 -EWS still not used to full              supervisors                  communications                  evaluation process          -Uneven quality of District
         capacity                 -Training in need of further   -Insufficient communications                                             meetings
  -Supervisors performing                improvement                with applicants / recruits                                     -Room for improvement in
   inadequate evaluations                                           -Insufficient analysis of                                        using MAX meetings to
-Rollcall training inconsistent                                      trends/best practices                                           implement community
                                                                                                                                            policing
   -Inconsistent quality of                                      -Processes often inefficient
         supervision


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                                   EPIC Peer Intervention Program

                                   MAX Management Tool

                                   Open Government Data Transparency
From                               Critical Incident Video Release Policy
Compliant                          NOPD/Loyola Fellowship
To                                 NOPD/Innocence Project Partnership
Professional                       “Academy 21~” Continuing Policing Education Program

                                   Burden Reduction Working Group

                                   Active Contributors To National Police Reform Conversation



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A Recipe For Success


  Contributors to Past Progress                                    Keys To Continued Progress
  Highly credible and proven NOPD leadership                       Empower NOPD leadership to continue reform
  team                                                             path
  Dedicated and energetic Compliance Bureau                        Implement additional tools to sustain reforms
  Professionalization of Academy                                   Continue to devote sufficient resources
  Effective partnership among NOPD, DOJ, and                       Continue building community trust
  OCDM                                                             Expand Compliance Bureau self-audit capacity
  Vigilant Monitoring Team                                         Continue effective partnership among NOPD,
  Significant OCDM technical assistance                            DOJ, and OCDM
  Close judicial oversight                                         Close judicial oversight
                                                                                                                   58
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Path Forward
  Rely more heavily on internal NOPD audits in areas already in full and effective compliance


  Finalize reviews/audits of areas nearing full and effective compliance


  Continue robust audits and assessments of areas not yet in full and effective compliance


  Continue reviewing ALL serious uses of force


  Continue providing technical assistance where needed


  Work with DOJ and NOPD to measure “outcome assessments”

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Conclusion


             1                                 2                                   3                                 4

While NOPD had a slow start,      The NOPD leadership team           Our audits and reviews              The Department, to date, has
the Department has made           deserves significant recognition   demonstrate the Consent             taken reasonable steps toward
remarkable progress in recent     for entering into an effective     Decree is achieving its purpose     achieving Full & Effective
years.                            partnership with DOJ and the       of “ensuring that police services   Compliance and is moving
                                  Monitoring Team.                   are delivered to the people of      closer to the two year
                                                                     New Orleans in a manner that        sustainment period.
                                                                     complies with the Constitution
                                                                     and laws of the United States.”




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